           Case 1:22-cv-00125-SWS Document 245 Filed 01/16/24 Page 1 of 1
                                                                                                      FILED

                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF WYOMING

                                                                                                   9:34 am, 1/16/24
CUSTODIA BANK INC.,                                         )
                                                            )                                   Margaret Botkins
        Plaintiff,                                          )                                    Clerk of Court
                                                            )
v.                                                          )                Case No. 1:22-cv-00125-SWS
                                                            )
FEDERAL RESERVE BOARD                                       )
OF GOVERNORS ET AL,                                         )
                                                            )
        Defendants.                                         )



   ORDER GRANTING ADMISSION PRO HAC VICE OF MATTHEW I. SUMMERS AND
 MICHELLE S. KALLEN FOR MOVANT/AMICUS CURIAE BLOCKCHAIN ASSOCIATION


        THIS MATTER having come before the Court upon the motion of counsel for the Movant/Amicus

Curiae Block Chain Association, pursuant to Rule 84.2(b) of the Local Rules of the United States District

Court for the District of Wyoming for the purpose of admitting Matthew I. Summers and Michelle S. Kallen

as Pro Hac Vice counsel in the District of Wyoming. The Court reviewed this matter and finds that the

motion should be granted. Accordingly,

        IT IS HEREBY ORDERED that Matthew I. Summers and Michelle S. Kallen are hereby admitted

to practice before this Court for all purposes in this matter.

        IT IS FURTHER ORDERED that Local counsel shall be present in Court during all

Proceedings in connection with the case, unless excused by the Court, and shall have full authority to act

for and on behalf of the client in all matters including pretrial conferences, as well as trial or any other

hearings. Any notice, pleading or other paper shall be served on all counsel of record including local

counsel.

        DATED this 16th day of January, 2024.



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                                                            KELLYYHH. RANK
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                                                            UNITED STATES MAGISTRATE JUDGE
